                              United States District Court
                              Northern District of Indiana
                                  Hammond Division

UNITED STATES OF AMERICA

                     v.                                          Case No. 2:16-cr-150 JVB

MARLONN HICKS



                                          ORDER

       This matter is before the Court on the findings and recommendations of the Magistrate

Judge on a plea of guilty by Defendant Marlonn Hicks (DE 11). No objections have been filed

to Magistrate Judge’s findings and recommendations. Accordingly, the Court now ADOPTS

those findings and recommendations, ACCEPTS the guilty plea of Defendant Marlonn Hicks,

and FINDS the Defendant guilty of the offense charged in Count 1 of the Information.


       SO ORDERED on March 15, 2017.

                                                   s/ Joseph S. Van Bokkelen
                                                   Joseph S. Van Bokkelen
                                                   United States District Judge
